           Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 1 of 6



IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                           Northern Division

GREGORY PRITCHETT                               :
301 Juneberry Way                               :
Apt. 1A                                         :           Case No.:
Glen Burnie, MD 21061                           :
                                                :
                          Plaintiff,            :
                                                :
v.                                              :
                                                :
OMNI HOUSE, INC.,                               :
1421 Madison Park Dr.                           :
Glen Burnie, MD 21061                           :
                                                :
                    Serve:                      :
                    Lois E. Miller              :
                    1421 Madison Park Dr.       :
                    Glen Burnie, MD 21061       :
                                                :
OMNI HOUSE FOUNDATION, INC.                     :
1421 Madison Park Dr.                           :
Glen Burnie, MD 21061                           :
                                                :
                    Serve:                      :
                    Charles Schwenz             :
                    6117 Jerrys Dr.             :
                    Columbia, MD 21044

                          Defendants.

                                            COMPLAINT

        COMES NOW Plaintiff Gregory Pritchett, and for his cause of action states:

                                             PARTIES

     1. Plaintiff is an adult resident of the State of Maryland, living in an Omni House care

        facility.

     2. Defendant Omni House, Inc. is a corporation with it principal place of business in

        Maryland and doing business in Maryland.




                                                    1
      Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 2 of 6



3. Defendant Omni House Foundation, Inc. is a corporation with its principal place of

   business in Maryland and doing business in Maryland.

4. Defendants may collectively be referred to as “Omni House.”

                                    JURISDICTION

5. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

6. This Court has personal jurisdiction over each Defendant as each Defendants’ principal

   place of business is in and Defendants operate in the District of Maryland.

7. Venue lies in the United States District Court for the District of Maryland as the cause of

   action arose in the District of Maryland.

                              FACTUAL BACKGROUND

8. Omni House owns and operates a facility which provides both residential services and

   mental health care to mentally disabled individuals.

9. Plaintiff is mentally disabled due to a diagnosis of schizoaffective disorder, a chronic

   mental health condition which substantially limits his major life activities including his

   ability to care for himself mentally and physically, his ability to obtain employment, and

   his ability to obtain housing.

10. Plaintiff receives federal disability benefits from the Social Security Administration on a

   monthly basis due to his mental disability.

11. In June 2018, Plaintiff moved into an apartment at the Omni House care facility located

   at 301 Juneberry Way, Apt. 1A, Glen Burnie, MD 21061 (hereinafter “the Unit”), which

   is owned and operated by Defendants.




                                               2
      Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 3 of 6



12. Plaintiff entered into a lease agreement with Defendants in which he agreed to pay

   monthly rent in exchange for a safe and habitable living domicile at the Unit within the

   Omni House healthcare living facility.

13. Specifically, Defendants receive Plaintiff’s social security benefits, a portion of which

   covers his rent, the remainder of which is used to cover mental health care that

   Defendants provide.

14. Almost immediately upon taking possession of the Unit, Plaintiff discovered safety

   defects in the Unit, including extensive mold growth within the Unit.

15. Since this discovery, Plaintiff has made several complaints regarding the presence of

   mold in the Unit.

16. Defendants first response was to tell Plaintiff to clean up the mold himself.

17. Upon further complaints made by Plaintiff, Defendants entered into the Unit and painted

   over mold in an attempt to conceal the problem rather than remediate it.

18. Plaintiff is vulnerable to manipulation due to his mental impairment.

19. Plaintiff is ill-equipped and hesitant to thwart discrimination due to his mental

   impairment.

20. Despite Defendants’ actual and/or constructive knowledge of the defective conditions

   within the Unit, Defendant has refused to fix the defects, which has led to ongoing insult

   and exposure to Plaintiff.

               AMERICAN WITH DISABILITIES ACT VIOLATION
                                Count I

21. Each of the preceding paragraphs is incorporated by reference herein.

22. Plaintiff is disabled as defined by the Americans with Disabilities Act (“ADA”) for the

   following reasons:



                                             3
      Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 4 of 6



       a. Plaintiff is mentally impaired in such a way that limits one or more of his major

           life activities including his ability to care for himself, obtain employment, obtain

           housing and otherwise is disabled;

       b. Plaintiff is on record as having such an impairment; and

       c. Plaintiff is regarded as having such an impairment.

23. Defendants in their individual and collective capacity as property owner and/or landlord

   and/or property manager of the Unit are private entities providing a public

   accommodation as defined by the Americans with Disabilities Act.

24. Defendants provide a public accommodation because they are:

       a. A professional office of a health care provider or other healthcare service

           establishment, and also

       b. A social service center establishment.

25. Defendants intentionally and willfully failed to provide Plaintiff with this

   accommodation.

26. Defendants operate a mental health facility and housing facility for the mentally disabled

   in such a way that affects commerce.

27. Defendants in their individual and collective capacity as property owner and/or landlord

   and/or property manager of the Unit failed to use reasonable and ordinary care to keep

   the premises safe and to protect Plaintiff from injury because of Plaintiff’s disability.

28. Defendants failed to maintain the Unit in a safe manner and to protect Plaintiff from

   injury because Plaintiff is mentally disabled and is therefore ill-equipped and hesitant to

   complain about his living conditions and treatment.




                                             4
      Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 5 of 6



29. WHEREFORE, Plaintiff demands injunctive relief in the form of Defendants

   completely remediating the mold in his Unit, plus attorneys’ fees costs.

                       REHABILITATION ACT VIOLATION
                                  Count II

30. Each of the preceding paragraphs is incorporated by reference herein.

31. Defendants receive federal financial assistance to administer its mental health program

   including from Medicare and/or the Social Security Administration’s disability program.

32. Plaintiff is denied the benefits of said program as a direct and proximate cause of

   Defendants’ failure to maintain its property in a safe manner and to protect Plaintiff from

   injury.

33. Defendants failed to maintain its property in a safe manner and protect Plaintiff from

   injury because Plaintiff is mentally disabled and therefore ill-equipped and hesitant to

   complain about his living conditions and treatment.

34. Defendants’ failure to maintain its property in a safe manner and to protect Plaintiff

   amounts to reckless indifference to Plaintiff’s rights.

35. Defendants maliciously failed to maintain its property in a safe manner and to protect

   Plaintiff.

36. But for Defendants’ discrimination, Plaintiff is a handicapped person otherwise qualified

   to receive the benefits of said program.

37. As a proximate and direct result of Defendants’ failures and discrimination, Plaintiff has

   sustained damages including property damage, moving costs, non-economic damages and

   other economic loss.




                                              5
            Case 1:18-cv-03531-GLR Document 1 Filed 11/15/18 Page 6 of 6



   38. WHEREFORE, Plaintiff requests all damages allowable by law against Defendants,

          including damages in an amount to be determined at trial and that exceeds Two-hundred

          and Fifty Thousand Dollars ($250,000.00), plus costs and interest.

Dated: November 15, 2018                                Respectfully submitted,

                                                        NIDEL & NACE, PLLC


                                                        /s/ Jonathan B. Nace
                                                        Jonathan B. Nace, Esq., Bar No. 18246
                                                        5335 Wisconsin Ave., NW
                                                        Suite 440
                                                        Washington, DC 20015
                                                        202-478-9677
                                                        jon@nidellaw.com



                                       Demand for Jury Trial

          Pursuant to Federal Rule of Civil Procedure, Plaintiff demands a jury trial on all triable

issues.

                                                        /s/ Jonathan B. Nace
                                                        Jonathan B. Nace, Esq., Bar No. 18246




                                                   6
